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 Noah G. Hillen, ISB No. 7690
 CHAPTER 7 BANKRUPTCY TRUSTEE
 P.O. Box 6538
 Boise, Idaho 83707
 Telephone (208) 297-5774
 Facsimile (208) 297-5224
 ngh@hillenlaw.com

                           UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

 In Re:
                                                       Case No. 17-00495-TLM
 KA INVESTMENTS, INC.
                                                       Chapter 7

                        Debtor(s)


                SECOND AMENDED OBJECTION TO CLAIM AND NOTICE

          TO:   Braydon Ball
                8103 S. Danskin Ln
                Meridian, ID 83642


                                              NOTICE

 YOU ARE HEREBY NOTIFIED that the Trustee of the above estate has amended his
 objection to the allowance of your Claim No. 19, filed on July 13, 2017 in this bankruptcy case.

 Your claim may be reduced, modified, or eliminated. You should read these papers
 carefully and discuss them with your attorney, if you have one.

 YOU ARE FURTHER NOTIFIED that if you do not want the Court to eliminate or change
 your claim, and you wish to contest the Trustee’s objection to your claim, a written reply to the
 objection, explaining your position, must be filed in duplicate within thirty (30) days from the
 date this objection is mailed. File the original (1) with the Clerk of the Bankruptcy Court,
 Federal Building, 550 West Fort Street, Boise, ID 83724; and (2) a copy with the Trustee. If you
 mail your response to the court for filing, you must mail it early enough so that the Court will
 receive it on or before the end of the thirty-day period.

 YOU ARE FURTHER NOTIFIED that if the objection is a matter which can be corrected by
 filing an amended claim, you may do so prior to the expiration of the thirty (30) day period.
 Failure to file a written reply will result in the Trustee requesting that the Court enter an order
 disallowing the claim to the extent objected to. If you or your attorney do not take these steps,


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 the Court may decide that you do not oppose the objection to your claim and may grant the
 Trustee’s request.

                                         OBJECTION
        Trustee’s objection is made on the following grounds:

        1.     Based on documentation attached to Claim, Creditor initially invested $2,700.00

 with the Debtor. Remaining balance of claimed amount includes fictitious gains in the

 investment. Trustee requests that Claim 19 be allowed in the reduced amount of $2,700.00.




 Date: January 28, 2019                             /s/ Noah G. Hillen_____
                                                    Chapter 7 Trustee




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this date as indicated below, I electronically filed the foregoing
 Objection to Claim and Notice with the Clerk of the Court using the CM/ECF system which sent
 a Notice of Electronic Filing to the individuals so noted below. I further certify that, on the same
 date, I have mailed by United States Postal Service the foregoing document to the following non-
 EM/ECF Registered Participant(s) either listed below or on an attached list.

 *Electronic Notification:

 US Trustee     ustp.region18.bs.ecf@usdoj.gov

 Served by U.S. MAIL :

 Braydon Ball
 8103 S. Danskin Ln
 Meridian, ID 83642




                                                      /s/ Noah G. Hillen
                                                      Date: January 28, 2019




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